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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA

             Plaintiff,

      v.                                               Case No:. 09-cr-20473

Brandi Nicole Davis,                                   Honorable Victoria A. Roberts

             Defendant.


 OPINION AND ORDER DENYING DEFENDANT’S REQUEST TO SEAL FEDERAL
                      CRIMINAL CONVICTION

I. Introduction

       In 2011, Defendant Brandi Davis pled guilty to conspiracy to distribute controlled

substances. The Court sentenced her to 120 months; Davis was given credit for time

served since 2009. Davis now requests that the Court seal her federal criminal

conviction (Doc. 213). She states that she has “paid [her] dues to society” and sealing

her case will help her find employment after her release.

      The Court DENIES Ms. Davis request.

II. Applicable Law and Analysis

      In federal court, there is no distinction between sealing and expunging a criminal

record; sealing is tantamount to expungement. United States v. Coloian, 480 F.3d 47,

48 n. 3 (1st Cir.2007). The Sixth Circuit formerly recognized that federal courts have

inherent power to expunge criminal records; See, e.g., United States v. Doe, 556 F.2d

391, 393 (6th Cir. 1977), and United States v. Carey, 602 F.3d 738, 740 (6th Cir. 2010).

However, United States v. Lucido held that both Doe and Carey failed to explain why


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this Court had jurisdiction to expunge federal convictions under either the U.S.

Constitution, statute, or by the exercise of ancillary jurisdiction. United States v. Lucido,

612 F.3d 871, 876 (6th Cir. 2010).

       Lucido followed the Supreme Court precedent in Kokkonen v. Guardian Life Ins.

Co. of Am., 511 U.S. 375, 377 (1994). Specifically, the Court held that federal courts do

not have inherent power to expunge; they are “courts of limited jurisdiction” empowered

only by statute and the Constitution. “[They] may not expand that power by judicial

decree.” Lucido, 612 F.3d at 873. The party asserting jurisdiction has the burden to

establish that a claim is within the jurisdiction of the federal courts. Kokkonen, 511 U.S.

at 377.

       The Lucido Court examined three possible avenues to establish jurisdiction to

seal records. The court first examined whether authority over the original criminal case

directly provides district courts with jurisdiction to consider expungement. Lucido

reasoned that although a district court may have original jurisdiction over criminal

charges, once the court enters an unchallenged final judgment, that judgment ends the

courts’ jurisdiction over the case. Lucido, 612 F.3d at 874 (citing United States v. Martin,

913 F.2d 1172, 1174 (6th Cir. 1990)). Accordingly, the statutory basis which gave this

Court original jurisdiction over Davis’ criminal case does not provide a jurisdictional

basis for this Court to consider expungement. Id. Davis’ unchallenged conviction ended

this Court’s jurisdiction over her case.

       The second ground Lucido examined is whether any federal statute directly

provides the district court with jurisdiction to expunge. Id. While there are several




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statutes which permit federal courts to hear expungement motions, Davis does not cite

any statute which would authorize this Court to consider her request.

       Finally, Lucido addressed 18 U.S.C. § 3231 which states that “the district courts

of the United States shall have original jurisdiction, exclusive of the courts of the States,

of all offenses against the laws of the United States.”18 U.S.C.A. § 3231 (West). The

Lucido court examined whether original authority to address a case under § 3231

indirectly empowers district courts to consider expungement requests asserted under

ancillary jurisdiction. Lucido, 612 F.3d at 874. Lucido relied on Kokkonen which states

that ancillary jurisdiction can only be established in federal court in one of two ways: (1)

To permit disposition by a single court of claims that are factually interdependent; (2) To

enable a court to function successfully, manage its proceedings, vindicate its authority,

and effectuate its decrees. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,

378. A request for expungement does not meet either criteria, and Davis does not make

her request under the Court’s ancillary authority.

       III. Conclusion

       The Court has no jurisdiction to seal Davis’ federal criminal conviction. Her

request is Denied.

       IT IS ORDERED.
                                           S/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge
Dated: July 21, 2015




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The undersigned certifies that a copy of
this document was served on the
attorneys of record and Brandi Davis by
electronic means or U.S. Mail on July
21, 2015.
s/Linda Vertriest
Deputy Clerk




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